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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO



CAROLINA LOZANO VELA,

       Plaintiff,

v.                                                      Civ. No. 23-363 JCH/GBW

STERIGENICS U.S., LLC, et al.,

       Defendants.


          ORDER DENYING AS MOOT REQUEST FOR ATTORNEY FEES

       THIS MATTER comes before the Court upon review of the record. On May 13,

2024, Defendant Sterigenics U.S., LLC (“Sterigenics”) filed a Motion to Compel Plaintiff

to Provide Complete Discovery Responses in which it moved the Court to compel

Plaintiff to provide discovery responses and to pay the attorneys’ fees and costs that

Defendant Sterigenics incurred in connection with the Motion to Compel. Doc. 40 at 1.

After Plaintiff declined to file a timely response to the Motion to Compel, Defendant

Sterigenics filed a reply and renewed its request for attorneys’ fees. Doc. 41 at 2. On

June 5, 2024, the Court granted Defendant Sterigenics’ Motion to Compel and ordered

Plaintiff to respond to the request for attorneys’ fees. Doc. 43. Plaintiff responded on

June 12, 2024. Doc. 49.
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      On August 21, 2024, the parties reached a settlement based upon their

negotiations at the settlement conference held by the Court. Doc. 58. Based on this

settlement, the Court will deny the request for attorney fees as moot.

      IT IS THEREFORE ORDERED that Defendant Sterigenics’s request for attorney

fees based on its Motion to Compel (doc. 40) is DENIED AS MOOT.




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                                  GREGORY B. WORMUTH
                                  CHIEF UNITED STATES MAGISTRATE JUDGE




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